                                       Case 2:90-cv-00520-KJM-DB Document 5416 Filed 03/04/16 Page 1 of 4



                                   1
                                   2                         IN THE UNITED STATES DISTRICT COURTS
                                   3                       FOR THE EASTERN DISTRICT OF CALIFORNIA
                                   4                      AND THE NORTHERN DISTRICT OF CALIFORNIA
                                   5          UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
                                   6              PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
                                   7
                                   8    RALPH COLEMAN, et al.,                          Case No. 2:90-cv-0520 KJM KJN P
                                   9                   Plaintiffs,                      THREE-JUDGE COURT
                                  10              v.
                                  11    EDMUND G. BROWN JR., et al.,
                                  12                   Defendants.
Northern District of California
 United States District Court




                                  13    MARCIANO PLATA, et al.,                        Case No. 01-cv-01351-TEH
                                  14                   Plaintiff,                      THREE-JUDGE COURT
                                  15              v.                                   ORDER REQUIRING ADDITIONAL
                                                                                       REPORTING
                                  16    EDMUND G. BROWN JR., et al.,
                                  17                   Defendants.
                                  18
                                  19          On February 10, 2014, this court granted defendants’ request for a two-year
                                  20   extension in which to comply with the court’s June 30, 2011 order to reduce California’s
                                  21   in-state adult institution population to no more than 137.5% of design capacity. The two-
                                  22   year extension gave defendants until February 28, 2016 to meet the court-ordered
                                  23   reduction. Feb. 10, 2014 Order at 2 (ECF No. 2766/5060).1 Since receiving the extension,
                                  24   defendants have made laudable progress, and achieved compliance with the percentage
                                  25
                                  26          1
                                                 All filings in this Three-Judge Court are included in the individual docket sheets
                                  27   of both Plata v. Brown, No. 01-cv-01351-TEH (N.D. Cal.), and Coleman v. Brown, No.
                                       2:90-cv-0520 KJM KJN P (E.D. Cal.). This court includes the docket number of Plata
                                  28   first, then Coleman.
                                       Case 2:90-cv-00520-KJM-DB Document 5416 Filed 03/04/16 Page 2 of 4



                                   1   benchmark one year early, with the population remaining below the benchmark since
                                   2   February 2015:
                                   3
                                                                                                        In-state
                                   4                                                                    private      In-state
                                                                  In-state                               prison      contract
                                   5                               adult         %        Out-of-     population       bed
                                                                institution    Design      state      (California    capacity 2
                                   6             Date           population    Capacity   population      City)      (MCCFs)
                                   7     February 11, 2015       112,993      136.6%       8,828         1,973        4,218
                                   8     March 11, 2015          112,106      135.5%       8,778         1,893        4,218
                                   9     April 8, 2015           111,863      135.3%       8,394         1,999        4,218
                                  10     May 13, 2015            111,341      134.6%       8,060         2,152        4,218
                                  11     June 10, 2015           111,370      134.7%       7,726         2,308        4,218
                                  12     July 8, 2015            111,168      134.4%       7,277         2,339        4,218
Northern District of California
 United States District Court




                                  13     August 12, 20153        111,485      134.8%       6,961         2,225        4,218
                                  14     September 9, 2015       111,656      135.0%       6,508         2,245        4,218
                                  15     October 14, 2015        112,195      135.7%       5,907         2,147        4,218
                                  16     November 11, 2015       112,350      135.8%       5,447         2,071        4,218
                                  17     December 9, 2015        112,510      136.0%       5,264         1,978        4,218
                                  18     January 13, 2016        112,737      136.3%       5,173         1,882        4,218
                                  19
                                         February 10, 2016       112,887      136.5%       5,088         1,813        4,218
                                  20
                                  21   See Defs.’ Monthly Status Reports (ECF Nos. 2838/5278, 2842/5289, 2846/5300,
                                  22   2848/5306, 2860/5322, 2862/5331, 2864/5336, 2870/5354, 2874/5368, 2876/5379,
                                  23
                                  24         2
                                                Defendants’ monthly reports all state that there are 4,218 MCCF (modified
                                  25   community correctional facility) beds “that are in various stages of activation and
                                       transfer.”
                                  26         3
                                               The court uses the figures on page 1 of Defendants’ August status report, which
                                  27   appear to be correct based on the weekly report available at http://www.cdcr.ca.gov/
                                       Reports_Research/Offender_Information_Services_Branch/WeeklyWed/TPOP1A/TPOP1
                                  28   Ad150812.pdf. The figures at the top of Exhibit A to the August report appear not to have
                                       been updated from the July report.
                                                                                    2
                                       Case 2:90-cv-00520-KJM-DB Document 5416 Filed 03/04/16 Page 3 of 4



                                   1   2880/5388, 2882/5400, 2886/5411). Even as the benchmark has been attained, as reflected
                                   2   in the above table, however, the in-state adult institution population has been gradually
                                   3   increasing since July 2015. Part of this growth is due to the State’s commendable efforts
                                   4   to return inmates from out-of-state facilities, but there still remain over 5,000 inmates in
                                   5   out-of-state facilities. There are also approximately 5,500 inmates housed in in-state
                                   6   contract facilities.4 Moreover, defendants project that the total number of inmates will
                                   7   increase by over 3,600 over the next few years, which in itself threatens to push the
                                   8   population back over the threshold. See An Update to the Future of California
                                   9   Corrections: January 2016 at 25, available at http://www.cdcr.ca.gov/Blueprint-Update-
                                  10   2016/An-Update-to-the-Future-of-California-Corrections-January-2016.pdf.
                                  11          The court commends defendants for achieving the required reduction in the current
                                  12   in-state adult institution population. It also commends the parties for working
Northern District of California
 United States District Court




                                  13   cooperatively to ensure that the court’s orders are fully implemented. E.g., Stip. & Order
                                  14   in Response to Nov. 14, 2014 Order (ECF No. 2830/5254).
                                  15          At the same time, as this court has previously ordered and as defendants recognize,
                                  16   the court will “maintain jurisdiction over this matter for as long as is necessary to ensure
                                  17   that defendants’ compliance with the 137.5% final benchmark is durable, and such
                                  18   durability is firmly established.” Feb. 10, 2014 Order at 5. Additional work remains for
                                  19   defendants to demonstrate that they can maintain compliance with the population
                                  20   benchmark in the absence of court-ordered remedies. To that end, defendants shall
                                  21   //
                                  22   //
                                  23   //
                                  24   //
                                  25
                                  26          4
                                                As of midnight February 10, 2016, which is the source of the population data in
                                  27   defendants’ most recent status report, there were 5,530 inmates housed in in-state contract
                                       beds, including the 1,813 inmates housed at California City. See CDCR, Weekly Rpt. of
                                  28   Population, Feb. 10, 2016, available at http://www.cdcr.ca.gov/Reports_Research/
                                       Offender_Information_Services_Branch/WeeklyWed/TPOP1A/TPOP1Ad160210.pdf.
                                                                                      3
                                       Case 2:90-cv-00520-KJM-DB Document 5416 Filed 03/04/16 Page 4 of 4



                                   1   continue to report to the court monthly as required by the February 10, 2014 Order. Id.
                                   2   at 3. Defendants’ monthly reports shall include a discussion of the steps defendants are
                                   3   taking to ensure that compliance with the 137.5% benchmark is durable.
                                   4
                                   5   IT IS SO ORDERED.
                                   6
                                   7   Dated: 03/04/16                          _______________________________________
                                                                                STEPHEN REINHARDT
                                   8                                            UNITED STATES CIRCUIT JUDGE
                                                                                NINTH CIRCUIT COURT OF APPEALS
                                   9
                                  10
                                  11   Dated: 03/04/16
                                                                                THELTON E. HENDERSON
                                  12                                            SENIOR UNITED STATES DISTRICT JUDGE
Northern District of California




                                                                                NORTHERN DISTRICT OF CALIFORNIA
 United States District Court




                                  13
                                  14
                                  15   Dated: 03/04/16
                                                                                KIMBERLY J. MUELLER
                                  16                                            UNITED STATES DISTRICT JUDGE
                                                                                EASTERN DISTRICT OF CALIFORNIA
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